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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                         1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                         November 19, 2021

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                               DOCKET CORRECTION NOTICE
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        No. 21-6580,      John Barfield v. Teressa Cunningham
                          8:20-cv-02388-DCN

        TO:     Rights Behind Bars

        FILING CORRECTION DUE: November 24, 2021

        Please make the correction identified below and file a corrected document by the
        date indicated.

          [x] Please file the proposed Amicus Curiae brief attached to the motion,
          separately on the docket using the entry Amicus Curiae/Intervenor Brief with an
          appearance of counsel form attached.

        Kirsten Hancock, Deputy Clerk
        804-916-2704
